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"FOR THE DISTRICT OF NEW MEXICO " MEXICQ
) OCT 7 2004
UNITED STATES OF AMERICA, Se .
“Plaintiff, | ~ CLERK “o
V0 : - No. CR 04-0888 LH

DAVID PETTIGREW, .

- Defendant.

JURY INSTRUCTIONS
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INSTRUCTION NO. |

MEMBERS OF THE JURY:

IN ANY JURY TRIAL THERE ARE, IN EFFECT, TWO JUDGES. | AM ONE OF THE
JUDGES; THE OTHER IS THEJURY. ITISMY DUTY TO PRESIDE OVER THE TRIAL AND
TO DETERMINE WHAT EVIDENCE IS PROPER FOR YOUR CONSIDERATION. ITIS ALSO
MY DUTY AT THE END OF THE TRIAL TO EXPLAIN TO YOU THE RULES OF LAW THAT
YOU MUST FOLLOW AND APPLY IN ARRIVING AT YOUR VERDICT.

FIRST, I WILL GIVE YOU SOME GENERAL INSTRUCTIONS WHICH APPLY IN
EVERY CASE, FOR EXAMPLE, INSTRUCTIONS ABOUT BURDEN OF PROOF. I WILL
THEN GIVE YOU'SOME SPECIFIC RULES OF LAW ABOUT THIS PARTICULAR CASE.
NEXT, I WILL AGAIN RETURN TO SOME GENERAL INSTRUCTIONS, FOR EXAMPLE,
HOW TOJUDGE THE BELIEVABILITY OF WITNESSES. THESE INSTRUCTIONS WILL BE
GIVEN TO YOU FOR USE IN THE JURY ROOM, SO YOU NEED NOT TAKE NOTES.

AFTER THESE INSTRUCTIONS ON THE LAW GOVERNING THE CASE, THI!
ATTORNEYS MAY MAKECLOSING ARGUMENTS. THIS ALLOWS THEATTORNEYS AN
OPPORTUNITY TO POINT OUT THOSE THINGS THAT ARE MOST SIGNIFICANT OR
MOST HELPFUL TO THEIR SIDE OF THE CASE, AND IN DOING SO TO CALL YOUR
ATTENTION TO CERTAIN FACTS OR INFERENCES THAT MIGHT OTHERWISE ESCAPE
YOUR NOTICE. REMEMBER THESE STATEMENTS ARE NOT EVIDENCE AND WHAT
THE LAWYERS SAY IS NOT BINDING UPON YOU. IT IS YOUR OWN RECOLLECTION

AND INTERPRETATION OF THE EVIDENCE THAT CONTROLS IN THIS CASE.

AFTER CLOSING ARGUMENTS, I WILL EXPLAIN TO YOU THE PROCEDURES

 
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YOU SHOULD FOLLOW IN YOUR DELIBERATIONS.
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INSTRUCTION NO. 2

YOU, AS JURORS, ARE THE JUDGES OF THE FACTS. BUT IN DETERMINING
WHAT ACTUALLY HAPPENED -- THAT IS, IN REACHING YOUR DECISION AS TO THE
FACTS = IT Is. YOUR SWORN DUTY TO FOLLOW ALL OF THE RULES OF LAW AS |
EXPLAIN THEM TO YOU.

“YOU HAVE NO RIGHT TO DISREGARD OR GIVE SPECIAL ATTENTION TO ANY
ONE INSTRUCTION, OR TO QUESTION THE WISDOM OR CORRECTNESS OF ANY RULE
I MAY STATE TO: YOU. YOU MUST NOT SUBSTITUTE OR FOLLOW YOUR OWN
NOTION OR OPINION AS TO WHAT THE LAW IS OR OUGHT TO BE. IT IS YOUR DUTY
TO APPLY-THE LAWAS I EXPLAINIT TO YOU, REGARDLESS OF THE CONSEQUENCES.

IT Is ‘ALSO YOUR: DUTY TO BASE YOUR VERDICT SOLELY UPON THE
EVIDENCE, WITHOUT PREJUDICE OR SYMPATHY. THAT WAS THE PROMISE YOU
MADE AND THE OATH YOU TOOK BEFORE BEING ACCEPTED BY THE PARTIES AS

JURORS, AND THEY HAVE THE RIGHT TO EXPECT NOTHING LESS.
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|
INSTRUCTION NO. 3

THE INDICTMENT OR FORMAL CHARGE AGAINST THE DEFENDANT IS NOT
EVIDENCE OF GUILT. INDEED, THE DEFENDANT IS PRESUMED BY THE LAW TO BE
INNOCENT. THE LAW DOES NOT REQUIRE THE DEFENDANT TO PROVE HIS
INNOCENCE OR PRODUCE ANY EVIDENCE AT ALL AND NO INFERENCE WHATEVER
MAY BE DRAWN FROM THE ELECTION OF THE DEFENDANT NOT TO TESTIFY. THE
GOVERNMENT HAS THE BURDEN OF PROVING THE DEFENDANT GUILTY BEYOND
A REASONABLE DOUBT, AND IF IT FAILS TO DO SO, YOU MUST ACQUIT THE
DEFENDANT. -

WHILE THE GOVERNMENT'S BURDEN OF PROOF IS A STRICT OR HEAVY
BURDEN, IT IS NOT NECESSARY THAT THE DEFENDANT'S GUILT BE PROVED
BEYOND ALL POSSIBLE DOUBT. IT IS ONLY REQUIRED THAT THE GOVERNMENT'S
PROOF EXCLUDE ANY "REASONABLE DOUBT" CONCERNING THE DEFENDANT'S
GUILT.

A "REASONABLE DOUBT" IS A DOUBT BASED UPON REASON AND COMMON
SENSE AFTER CAREPUL AND IMPARTIAL CONSIDERATION OF ALL THE EVIDENCE
IN THE CASE, PROOF BEYOND A REASONABLE DOUBT, THEREFORE, IS PROOF OF
SUCH A CONVINCING CHARACTER THAT YOU WOULD BE WILLING TO RELY AND
ACT UPON IT WITHOUT HESITATION IN THE-MOST IMPORTANT OF YOUR OWN

AFFAIRS. IF YOU ARE CONVINCED THAT THE ACCUSED HAS BEEN PROVED GUILTY

BEYOND A REASONABLE DOUBT, SAY SO. IF YOU ARE NOT CONVINCED, SAY SO.
oe

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INSTRUCTION NO. 4

BEFOREIREAD THE INDICTMENT, IMUST CAUTION YOU THAT YOU AREHERE.
ONLY TO becibe WHETHER THE GOVERNMENT HAS PROVED BEYOND A
REASONABLE DOUBT THAT THE DEFENDANT IS GUILTY OF THE CRIME CIIARGED
IN THE INDICTMENT. THE DEFENDANT IS NOT ON TRIAL FOR ANY OTHER ACT,
CONDUCT OR OFFENSE. NEITHER ARE YOU CONCERNED WITH THE GUILT OF ANY
OTHER PERSON OR PERSONS NOT ON TRIAL AS A DEFENDANT IN THIS CASE.

ALSO, IN DETERMINING WHETHER THE GOVERNMENT HAS PROVED BEYOND
A REASONABLE DOUBT THAT THE DEFENDANT IS GUILTY OF THE CRIME CHARGED
INTHE INDICTMENT, YOU SHOULD NOT BE CONCERNED WITH PUNISHMENT IN ANY
WAY. SHOULD YOU FIND THE DEFENDANT GUILTY, IT WILL BE MY DUTY TO
DECIDE WHAT THE PUNISHMENT WILL BE, AND PUNISHMENT SHOULD NOT ENTER

|
YOUR CONSIDERATION OR DISCUSSION.
 

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INSTRUCTION NO. 5

|
THE DEFENDANT IS ON TRIAL BEFORE YOU UPON AN INDICTMENT BROUGHT

BY THE GRAND JURY CHARGING AS FOLLOWS:

COUNT 1

ON OR ABOUT THE 18TH DAY OF APRIL, 2004, WITHIN THE EXTERIOR
BOUNDARIES OF, THE NAVAJO INDIAN RESERVATION, IN INDIAN COUNTRY, IN THE
STATE AND DISTRICT OF NEW MEXICO, THE DEFENDANT, DAVID PETTIGREW, AN
INDIAN, DID UNLAWFULLY KILL CARRIE BEASLEY WHILE IN THE COMMISSION OF
AN UNLAWFUL Act NOT AMOUNTING TO A FELONY, THAT IS WHILE OPERATING A
MOTOR VEHICLE UNDER THE INFLUENCE OF ALCOHOL, CONTRARY TO SECTION 66-
8-102 OF THE NEW MEXICO STATUTES ANNOTATED, AND THE DEFENDANT
OPERATED THE MOTOR VEHICLE WITHOUT DUE CAUTION AND CIRCUMSPECTION,
IN AGROSSLY NEGLIGENT MANNER, AND WITH KNOWLEDGE OF CIRCUMSTANCES
THAT MADE IT REASONABLY FORESEEABLE THAT HE MIGHT IMPERIL THE LIVES OF

OTHERS. |

|

IN VIOLATION OF 18 U.S.C. § 1153 AND 18 U.S.C. § 1112.
|

COUNT 2
ON OR ABOUT THE 18TH DAY OF APRIL, 2004, WITHIN THE EXTERIOR
BOUNDARIES OF THE NAVAJO INDIAN RESERVATION, UN INDIAN COUNTRY, IN THE

STATE AND DISTRICT OF NEW MEXICO, THE DEFENDANT, DAVID PETTIGREW, AN
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INDIAN, DID ASSAULT JANE DOE A, SUCH ASSAULT RESULTING IN SERIOUS BODILY
INJURY. | |
IN VIOLATION OF 18 U.S.C. § 1153 AND 18 U.S.C. § 113(A)(6).
| COUNT 3
ON OR ABOUT THE 18TH DAY OF APRIL, 2004. WITHIN THE EXTERIOR

BOUNDARIES OF THE NAVAJO INDIAN RESERVATION, IN INDIAN COUNTRY, IN THE

|
STATE AND DISTRICT OF NEW MEXICO, THE DEFENDANT, DAVID PETTIGREW, AN
|
INDIAN, DID ASSAULT JASON R. BEASLEY, SUCH ASSAULT RESULTING IN SERIOUS
BODILY INJURY.

IN VIOLATION OF 18 U.S.C. § 1153 AND 18 U.S.C. § 113(A)(6).

|
|

COUNT 4
ON OR ABOUT THE 18 TH DAY OF APRIL, 2004, WITHIN THE EXTERIOR
BOUNDARIES OF THE NAVAJO INDIAN RESERVATION, IN INDIAN COUNTRY, IN THE
STATE AND DISTRICT OF NEW MEXICO, THE DEFENDANT, DAVID PETTIGREW, AN
INDIAN, DID ASSAULT JANE DOE B, BY WOUNDING JANE DOE B.

IN VIOLATION OF 18 U.S.C. § 1153 AND 18 U.S.C. § 113(A)(4).
 

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INSTRUCTION NO. 6

YOU WILL NOTE THAT THE INDICTMENT CHARGES THAT THE OFFENSE WAS
COMMITTED “ON OR ABOUT” A SPECIFIED DATE. THE GOVERNMENT DOES NOT
HAVE TO PROVE THAT THE CRIME WAS COMMITTED ON THAT EXACT DATE, SO
LONG AS THE GOVERNMENT PROVES BEYOND A REASONABLE DOUBT THAT THE
CRIME WAS COMMITTED ON A DATE REASONABLY NEAR THE DATE STATED IN THE

INDICTMENT.
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INSTRUCTION NO. 7

A SEPARATE CRIME IS CHARGED AGAINST THE DEFENDANT IN EACH COUNT
OF THE INDICTMENT. EACH COUNT, AND THE EVIDENCE PERTAINING TO IT,
SHOULD BE CONSIDERED SEPARATELY AND INDIVIDUALLY. THE FACT THAT YOU
MAY FIND THE ACCUSED GUILTY OR NOT GUILTY OF ANY OF THE CRIMES
CHARGED SHOULD NOT CONTROL YOUR VERDICT AS TO ANY OTHER CRIME. YOU
MUST GIVE SEPARATE CONSIDERATION TO THE EVIDENCE AS TO EACH CRIME

CHARGED.
|.

 
 

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|
INSTRUCTION NO. 8
SECTION 1112 OF TITLE 18 OF THE UNITED STATES CODE, MAKES IT A CRIME
FOR ANYONE TO KILL A HUMAN BEING WHILE IN THE COMMISSION OFAN
|
UNLAWFUL ACT, NOT AMOUNTING TO A FELONY AND ACTING WITHOUT DUE
CAUTION AND CIRCUMSPECTION, WHICH ACT MIGHT PRODUCE DEATH.
FOR YOU TO FIND DEFENDANT DAVID PETTIGREW GUILTY OF THIS CRIME,
YOU MUST BE CONVINCED THAT THE GOVERNMENT HAS PROVED EACH OF THE
FOLLOWING BEYOND A REASONABLE DOUBT:
|

FIRST: THAT THE DEFENDANT, DAVID PETTIGREW, CAUSED THE DEATH OF

CARRIE BEASLEY;

SECOND: THAT THE DEFENDANT, DAVID PETTIGREW, CAUSED THE DEATH
OF CARRIE BEASLEY DURING THE COMMISSION OF AN UNLAWFUL ACT NOT
AMOUNTING TO A FELONY, THAT IS WHILE OPERATING A MOTOR VEHICLE WHILE
UNDER THE INFLUENCE OF ALCOHOL, AND THE DEFENDANT ACTED WITHOUT DUE
CAUTION AND CIRCUMSPECTION, WHICH MIGHT PRODUCE DEATH;

THIRD: THAT CARRIE BEASLEY’S DEATH TOOK PLACE WITHIN THE EXTERIOR
BOUNDARIES OF THE NAVAJO RESERVATION; AND

FOURTH: THAT THE DEFENDANT, DAVID PETTIGREW, TS AN INDIAN.
 

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INSTRUCTION 8A

TO CONSTITUTE ACTING WITHOUT DUE CAUTION AND CIRCUMSPECTION. THLE
DEFENDANT'S ACTS MUST AMOUNT TO GROSS NEGLIGENCE, DEFINED AS WANTON

OR RECKLESS DISREGARD FOR HUMAN LIFE.
|
|
 

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INSTRUCTION NO. 9

SECTION 1:13 OF TITLE 18 OF THE UNITED STATES CODE MAKES IT A CRIME
|
FOR ANYONE TO ASSAULT ANOTHER HUMAN BEING RESULTING IN SERIOUS

BODILY INJURY.

FOR YOU TO FIND DEFENDANT DAVID PETTIGREW GUILTY OF THIS CRIME,
YOU MUST BE CONVINCED THAT THE GOVERNMENT HAS PROVED EACH OF THE
FOLLOWING BEYOND A REASONABLE DOUBT:

FIRST: THAT THE DEFENDANT, DAVID PETTIGREW. INTENTIONALLY STRUCK
MARLE BEASLEY, REEERRED TO AS JANE DOE A IN THE INDICTMENT, WITH A
MOTOR VEHICLE:

SECOND: THAT MARLE BEASLEY SUFFERED SERIOUS BODILY INJURY AS A

RESULT;

THIRD: THAT THE ASSAULT TOOK PLACE WITHIN THE EXTERIOR

BOUNDARIES OF THE NAVAJO RESERVATION; AND
FOURTH: THAT THE DEFENDANT, DAVID PETTIGREW. IS AN INDIAN.
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INSTRUCTION NO. 10

SECTION 113 OF TITLE 18 OF THE UNITED STATES CODE MAKES IT A CRIME
FOR ANYONE TO ASSAULT ANOTHER HUMAN BEING RESULTING IN SERIOUS
BODILY INJURY.

FOR YOU TO FIND DEFENDANT DAVID PETTIGREW GUILTY OF THIS CRIME,
YOU MUST BE CONVINCED THAT THE GOVERNMENT HAS PROVED EACI! OF THE
FOLLOWING BEYOND A REASONABLE DOUBT:

FIRST: THAT THE DEFENDANT, DAVID PETTIGREW, INTENTIONALLY STRUCK
JASON BEASLEY; WITH A MOTOR VEHICLE;

SECOND: THAT JASON BEASLEY SUFFERED SERIOUS BODILY INJURY AS A
RESULT;

THIRD: THAT THE ASSAULT TOOK PLACE WITHIN THE EXTERIOR
BOUNDARIES OF THE NAVAJO RESERVATION; AND

FOURTH: THAT THE DEFENDANT, DAVID PETTIGREW, IS AN INDIAN.
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i INSTRUCTION NO. ||
|

SECTIONS 113 AND 1365 OF TITLE 18 OF THE UNITED STATES CODE DRFINES
THE TERM “SERIOUS BODILY INJURY” AS A BODILY INJURY WHICH INVOLVES

A. | ASUBSTANTIAL RISK OF DEATH:

B. EXTREME PHYSICAL PAIN:

C. PROTRACTED AND OBVIOUS DISFIGUREMENT; OR

|

D. PROTRACTED LOSS OR IMPAIRMENT OF THE FUNCTION OF A BODILY

MEMBER, ORGAN, OR MENTAL FACULTY.

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INSTRUCTION NO, 12

IN ADDITION TO THE OTHER ELEMENTS OF ASSAULT RESULTING IN SERIOUS
BODILY INJURY CHARGED IN COUNTS 2 AND 3 OF THE INDICTMENT, THE
GOVERNMENT MUST PROVE TO YOUR SATISFACTION BEYOND A REASONABLE
DOUBT THAT THE DEFENDANT ACTED INTENTIONALLY WHEN COMMITTING THE
CRIMES. A PERSON ACTS INTENTIONALLY WHEN PURPOSELY DOING AN ACT WHICH
THELAW DECLARES TO BEA CRIME, EVEN THOUGH THAT PERSON MAY NOT KNOW
THAT THE ACT IS UNLAWFUL. WHETHER THE DEFENDANT ACTED INTENTIONALLY
MAY BE INFERRED FROM ALL OF THE SURROUNDING CIRCUMSTANCES, SUCH AS
THE MANNER IN WHICH THE DEFENDANT ACTS, THE MEANS USED. THE CONDUCT,

AND ANY STATEMENTS MADE BY THE DEFENDANT.
 

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INSTRUCTION NO. 13

THE INTENT OF A PERSON OR THE KNOWLEDGE THAT A PERSON POSSESSES
AT ANY GIVEN TIME MAY NOT ORDINARILY BE PROVED DIRECTLY BECAUSE THERE
IS NO WAY OF DIRECTLY SCRUTINIZING THE WORKINGS OF THIS HUMAN MIND. IN
DETERMINING THE ISSUE OF WHAT A PERSON KNEW OR WHAT A PERSON INTENDED
ATA PARTICULAR TIME, YOU MAY CONSIDER ANY STATEMENTS MADE OR ACTS
DONE OR OMITTED BY THAT PERSON AND ALL OTHER FACTS AND CIRCUMSTANCES
RECEIVED IN EVIDENCE WHICH MAY AID IN YOUR DETERMINATION OF THAT
PERSON’S KNOWLEDGE OR INTENT.

YOU MAY INFER, BUT YOU ARE CERTAINLY NOT REQUIRED TO INFER, THAT
A PERSON INTENDS THE NATURAL AND PROBABLE CONSEQUENCES OF ACTS
KNOWINGLY DONE OR KNOWINGLY OMITTED. IT IS ENTIRELY UP TO YOU,
HOWEVER, TO DECIDE WHAT FACTS TO FIND FROM THI EVIDENCE RECEIVED

|
|
DURING THIS TRIAL.

 
 

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INSTRUCTION NO. 14

THE WORD “KNOWINGLY” AS THAT TERM HAS BEEN USED FROM TIME TO
TIME IN THESE INSTRUCTIONS, MEANS THAT THE ACT WAS DONE VOLUNTARILY

AND INTENTIONALLY, NOT BECAUSE OF MISTAKE OR ACCIDENT.
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INSTRUCTION NO. 15

SECTION 1° OF TITLE 18 OF THE UNITED STATES CODE MAKES IT A CRIME
FOR ANYONE TO ASSAULT ANOTHER HUMAN BEING BY STRIKING, BEATING, OR
WOUNDING THAT HUMAN BEING.

FOR YOU TO FIND DEFENDANT DAVID PETTIGREW GUILTY OF THIS CRIME,
YOU MUST BE CONVINCED THAT THE GOVERNMENT HAS PROVED EACH OF THE
FOLLOWING BEYOND A REASONABLE DOUBT:

FIRST: THAT THE DEFENDANT, DAVID PETTIGREW, INTENTIONALLY
WOUNDED HALLEY BEASLEY, REFERRED TO AS JANE DOE B IN THE INDICTMENT;

SECOND: THAT THE OFFENSE TOOK PLACE WITHIN THE EXTERIOR
BOUNDARIES oF THE NAVAJO RESERVATION; AND

THIRD: THAT THE DEFENDANT, DAVID PETTIGREW, IS AN INDIAN.
 

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INSTRUCTION NO. 15 A

EVIDENCE HAS BEEN PRESENTED ABOUT A STATEMENT ATTRIBUTED TO THE
DEFENDANT ALLEGED TO HAVE BEEN MADE AFTER THE COMMISSION OF THE
CRIME (OR CRIMES) CHARGED IN THIS CASE BUT NOT MADE IN COURT. SUCH
EVIDENCE SHOULD ALWAYS BE CONSIDERED BY YOU WITH CAUTION AND
WEIGHED WITH CARE. ANY SUCH STATEMENTS SHOULD BE DISREGARDED
ENTIRELY UNLESS THE OTHER EVIDENCE IN THE CASE CONVINCES YOU BEYOND
A REASONABLE: DOUBT THAT THE STATEMENT WAS MADE KNOWINGLY AND
VOLUNTARILY. |

IN DETERMINING WHETHER ANY SUCH STATEMENT WAS KNOWINGLY AND
VOLUNTARILY MADE, CONSIDER, FOR EXAMPLE, THE AGE, GENDER, TRAINING.
EDUCATION, OCCUPATION, AND PHYSICAL AND MENTAL CONDITION OF THE
DEFENDANT, AND ANY EVIDENCE CONCERNING HIS TREATMENT WHILE UNDER
INTERROGATION IF THE STATEMENT WAS MADE IN RESPONSE TO QUESTIONING BY
GOVERNMENT OFFICIALS, AND ALL THE OTHER CIRCUMSTANCES IN EVIDENCE
SURROUNDING THE MAKING OF THE STATEMENT.

IF, AFTER CONSIDERING ALL THIS EVIDENCE, YOU CONCLUDE BEYOND A
REASONABLE DOUBT THAT THE DEFENDANT’S STATEMENT WAS MADE
KNOWINGLY AND VOLUNTARILY, YOU MAY GIVE SUCH WEIGHT TO THE

|
STATEMENT AS YOU FEEL IT DESERVES UNDER ALL THE CIRCUMSTANCES.
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; INSTRUCTION NO. 16
|
DURING THE TRIAL YOU HEARD THE TESTIMONY OF DR. DAVID MCCRAY,
WHO HAS EXPRESSED OPINIONS CONCERNING JASON R. BEASLEY’S MEDICAL
CONDITION ON OR ABOUT APRIL 18, 2004, DR. DAVID MCCRAY AND DR, THOMAS
HOWDIESHELL, WHO HAVE EXPRESSED OPINIONS CONCERNING MARLE BEASLEY’S
MEDICAL CONDITION ON OR ABOUT APRIL [8, 2004, AND DR. JEFFERY NINE, WHO
HAS EXPRESSED AN OPINION CONCERNING THE DEATH OF CARRIE BEASLEY. IF
SCIENTIFIC, TECHNICAL OR OTHER SPECIALIZED KNOWLEDGE MIGHT ASSIST THE
JURY IN UNDERSTANDING THE EVIDENCE OR IN DETERMINING A FACT IN ISSUE. A
WITNESS QUALIFIED BY KNOWLEDGE, SKILL EXPERIENCE, TRAINING, OR
EDUCATION MAY TESTIFY AND STATE AN OPINION CONCERNING SUCH MATTERS.
MERELY BECAUSE SUCH A WITNESS HAS EXPRESSED AN OPINION DOES NOT
MEAN, HOWEVER, THAT YOU MUST ACCEPT THIS OPINION, YOU SHOULD JUDGE
SUCH TESTIMONY LIKE ANY OTHER TESTIMONY. YOU MAY ACCEPT IT OR REJECT
IT, AND GIVE IT AS MUCH WEIGHT AS YOU THINK IT DESERVES, CONSIDERING THE

WITNESS’S EDUCATION AND EXPERIENCE, THESOUNDNESS OF THE REASONS GIVEN

FOR THE OPINION, AND ALL OTHER EVIDENCE IN THE CASE.
 

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INSTRUCTION NO. 17

YOU HAVE HEARD TESTIMONY THAT AFTER THE CRIME WAS ALLEGEDLY
COMMITTED, THE DEFENDANT FLED. IF YOU BELIEVE THAT THE DEFENDANT FLED,
THEN YOU MAY CONSIDER THIS CONDUCT, ALONG WITH ALL THE OTHER
EVIDENCE, IN DECIDING WHETHER THE GOVERNMENT HAS PROVED BEYOND A
REASONABLE DOUBT THAT HE COMMITTED THE CRIME CHARGED. THIS CONDUCT
MAY INDICATE THAT THE DEFENDANT THOUGHT HE WAS GUILTY AND WAS
TRYING TO AVOID PUNISHMENT. ON THE OTHER HAND, SOMETIMES AN INNOCENT
PERSON MAY FLEE TO AVOID BEING ARRESTED, OR FOR SOME OTHER INNOCENT

REASON.

 
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; INSTRUCTION NO. 18
| ’
YOU ARE INSTRUCTED, AS A MATTER OF LAW, THAT THE LAND WITHIN THE

EXTERIOR BOUNDARIES OF THE NAVAJO RESERVATION IS INDIAN COUNTRY,
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INSTRUCTION NO, 19

THE TESTIMONY OF A WITNESS MAY BE DISCREDITED BY SHOWING THAT
THE WITNESS TESTIFIED FALSELY CONCERNING A MATERIAL MATTER. OR BY
EVIDENCE THATAT SOME OTHER TIME THE WITNESS SAID OR DID SOMETHING, OR
FAILED TO SAY OR DO SOMETHING, WHICH IS INCONSISTENT WITH THE TESTIMONY

!
THE WITNESS GAVE AT THIS TRIAL.

EARLIER STATEMENTS OF A WITNESS WERE NOT ADMITTED IN EVIDENCE TO
PROVE THAT THE CONTENTS OF THOSE STATEMENTS ARE TRUE. YOU MAY
CONSIDER THE EARLIER STATEMENTS ONLY TO DETERMINE WHETHER YOU THINK
THEY ARE CONSISTENT OR INCONSISTENT WITH THE TRIAL TESTIMONY OF THE
WITNESS AND THEREFORE WHETHER THEY AFFECT THE CREDIBILITY OF THAT
WITNESS. )

IF YOU BELIEVE THAT A WITNESS HAS BEEN DISCREDITED IN THIS MANNER,
IT IS YOUR EXCLUSIVE RIGHT TO GIVE THE TESTIMONY OF THAT WITNESS

WHATEVER WEIGHT YOU THINK IT DESERVES.
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INSTRUCTION NO. 20

AS I TOLD YOU EARLIER, IT 1S YOUR DUTY TO DETERMINE THE FACTS. IN
DOING SO, YOU. MUST CONSIDER ONLY THE EVIDENCE PRESENTED DURING THE
TRIAL, INCLUDING THE SWORN TESTIMONY OF THE WITNESSES AND THE EXHIBITS.
REMEMBER THAT ANY STATEMENTS, OBJECTIONS OR ARGUMENTS MADE BY THE
LAWYERS ARE NOT EVIDENCE AND ARE NOT BINDING UPON YOU. IN THE FINAL
ANALYSIS IT IS. YOUR OWN RECOLLECTION AND INTERPRETATION OF THE
EVIDENCE THATICONTROLS IN THE CASE.

ALSO, DO NOT ASSUME FROM ANYTHING! MAY FAVE DONE OR SAID DURING
THE TRIAL THAT HAVE ANY OPINION CONCERNING ANY OF THE ISSUES IN THIS
CASE. EXCEPT: FOR THE INSTRUCTIONS TO YOU ON THE LAW, YOU SHOULD

DISREGARD ANYTHING I MAY HAVE SAID DURING THE TRIAL IN ARRIVING AT

YOUR OWN FINDINGS AS TO THE FACTS.
!

 
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INSTRUCTION NO. 21

WHILE You SHOULD CONSIDER ONLY THE EVIDENCE, YOU ARE PERMITTED
TO DRAW SUCH REASONABLE INFERENCES FROM THE TESTIMONY AND EXHIBITS
AS YOU FEEL ARE JUSTIFIED IN THE LIGHT OF COMMON EXPERIENCE. IN OTHER
WORDS, YOU MAY MAKE DEDUCTIONS AND REACH CONCLUSIONS THAT REASON
AND COMMON SENSE LEAD YOU TO DRAW FROM THE FACTS WHICH HAVE BEEN
ESTABLISHED BY THE EVIDENCE.

YOU SHOULD NOT BE CONCERNED ABOUT WHETHER THE EVIDENCE 15S
DIRECT OR CIRCUMSTANTIAL. "DIRECT EVIDENCE" IS THE TESTIMONY OF ONE
WHO ASSERTS ACTUAL KNOWLEDGE OF A FACT, SUCH AS AN EYE WITNESS.
“CIRCUMSTANTIAL EVIDENCE" IS PROOF OF A CHAIN OF FACTS AND
CIRCUMSTANCES INDICATING THAT THE DEFENDANT IS FITHER GUILTY OR NOT
GUILTY. THE LAW MAKES NO DISTINCTION BETWEEN THLE WEIGHT YOU MAY GIVE

TO EITHER DIRECT OR CIRCUMSTANTIAL EVIDENCE.
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INSTRUCTION NO. 22

iREMIND you THATITIS YOUR JOB TO DECIDE WHETHER THE GOVERNMENT
HAS PROVED THE GUILT OF THE DEFENDANT BEYOND A REASONABLE DOUBT. IN
DOING SO, YOU MUST CONSIDER ALL OF THE EVIDENCE. THIS DOES NOT MEAN.
HOWEVER, THAT YOU MUST ACCEPT ALL OF THE EVIDENCE AS TRUE OR
ACCURATE. .. |

YOU ARE THE SOLE JUDGES OF THE CREDIBILITY OR "BELIEVABILITY" OF
EACH WITNESS AND THE WEIGHT TO BE GIVEN TO THE WITNESS'S TESTIMONY. AN
IMPORTANT PART OF YOUR JOB WILL BE MAKING JUDGMENTS ABOUT THI:

|

TESTIMONY OF THE WITNESSES WHO TESTIFIED IN THIS CASE. YOU SHOULD
DECIDE WHETHER YOU BELIEVE WHAT EACH PERSON HAD TO SAY, AND HOW
IMPORTANT THAT TESTIMONY WAS. IN MAKING THAT DECISION ] SUGGEST THAT
YOU ASK YOURSELF A FEW QUESTIONS: DID THE PERSON IMPRESS YOU AS
HONEST? DID THE WITNESS HAVE ANY PARTICULAR REASON NOT TO TELL THE
TRUTH? DID THE WITNESS HAVE A PERSONAL INTEREST IN THE OUTCOME OF THE
CASE? DID THE WITNESS HAVE ANY RELATIONSHIP WITH EITHER THE
GOVERNMENT OR THE DEFENSE? DID: THE WITNESS SEEM TO HAVE A GOOD
MEMORY? DID THE WITNESS HAVE THE OPPORTUNITY AND ABILITY TO
UNDERSTAND THE QUESTIONS CLEARLY AND ANSWER THEM DIRECTLY? DID THE
WITNESS'S TESTIMONY DIFFER FROM THE TESTIMONY OF OTHER WITNESSES?
THESE ARE A FEW OF THE CONSIDERATIONS THAT WILL HELP YOU DETERMINE THE

ACCURACY OF WHAT EACH WITNESS SAID.
|
 

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IN MAKING UP YOUR MIND AND REACHING A VERDICT, DO NOT MAKE ANY
DECISIONS SIMPLY BECAUSE THERE WERE MORE WITNESSES ON ONE SIDE THAN
ON THE OTHER. .DO NOT REACH A CONCLUSION ON A PARTICULAR POINT JUST
BECAUSE THERE WERE MORE WITNESSES TESTIFYING FOR ONE SIDE ON THAT
POINT. YOUR JOB IS TO THINK ABOUT THE TESTIMONY OF EACH WITNESS YOU
HAVE HEARD AND DECIDE HOW MUCH YOU BELIEVE OF WHAT EACI! WITNESS HAD

TO SAY.
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|
| INSTRUCTION NO. 23
|

NOW THAT YOU HAVE HEARD THE ATTORNEYS’ CLOSING ARGUMENTS, |
WILL GIVE YOU SOME FINAL INSTRUCTIONS.

TO REACH:A VERDICT, ALL OF YOU MUST AGREE. YOUR VERDICT MUST BE
UNANIMOUS. YOUR DELIBERATIONS WILL BE SECRET AND YOU WILL NEVER HAVE
TO EXPLAIN YOUR VERDICT TO ANYONE.

UPON RETIRING TO THE JURY ROOM, YOU SHOULD FIRST SELECT ONE OF
YOUR NUMBER TO ACT AS YOUR FOREPERSON WHO WILL PRESIDE OVER YOUR
DELIBERATIONS: AND WILL BE YOUR SPOKESPERSON HERE IN COURT. IN THIS
CASE, A FORM oF VERDICT HAS BEEN PREPARED FOR YOUR CONVENIENCE.

|

[READ THE VERDICT FORM]

YOU WILL TAKE THE COURT'S INSTRUCTIONS AND THE VERDICT FORM TO
THE JURY ROOM AND WHEN ALL OF YOU HAVE REACHED AGREEMENT ON THE
VERDICT, YOUR FOREPERSON WILL WRITE THE UNANIMOUS ANSWER OF THE JURY
IN THE SPACE PROVIDED IN THE VERDICT FORM. AT THE CONCLUSION OF YOUR
| DELIBERATIONS, THE FOREPERSON MUST SIGN AND DATE THE VERDICT FORM AND
NOTIFY THE COURT THAT YOU HAVE REACHED YOUR VERDICT.

IF, DURING YOUR DELIBERATIONS, YOU SHOULD DESIRE TO COMMUNICATE
WITH THE COURT, THE FOREPERSON*SHOULD WRITE THE MESSAGE ON THE

|
STATIONERY PROVIDED TO YOU IN THE JURY ROOM AND PASS THE NOTE TO THE
 

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MARSHAL, WHO WILL BRINGIT TOMY ATTENTION. | WILL RESPOND AS PROMPTLY
AS POSSIBLE, EITHER IN WRITING OR BY HAVING YOU RETURNED TO THE
COURTROOM sO THAT | CAN ADDRESS YOU ORALLY. I CAUTION YOU, HOWEVER,
WITH REGARD TO ANY MESSAGE OR QUESTION YOU MIGHT SEND, THAT YOU
SHOULD NEVER REVEAL HOW THE JURY STANDS, NUMERICALLY OR OTHERWISE,
AT THE TIME. |

FAITHFUL PERFORMANCE BY YOU OF YOUR DUTIES IS VITAL TO THE

ADMINISTRATION OF JUSTICE,
